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                              UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH, CENTRAL DIVISION

BRIAN BAKER, on behalf of himself and all             ORDER GRANTING STIPULATED
others similarly situated,                           MOTION FOR EXTENSION OF TIME
                                                       TO RESPOND TO COMPLAINT
               Plaintiff,

       vs.                                              Civil No. 2:19-cv-00652-HCN-CMR

COMCAST CORPORATION,                                      Judge Howard C. Nielson, Jr.
                                                        Magistrate Judge Cecilia M. Romero
               Defendant.



       Having considered the Stipulated Motion for Extension of Time to Respond to Complaint
filed by Defendant Comcast Corporation (“Comcast”) and Plaintiff Brian Baker (“Plaintiff”) and

for good cause appearing, it is hereby ORDERED that the Motion is GRANTED. Comcast shall

have until October 18, 2019 to file an answer or otherwise responsive pleading to Plaintiff’s

complaint.
     DATED this 17 September 2019.




                                            Magistrate Judge Cecilia M. Romero
                                            United States District Court for the District of Utah
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